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                                                                       IN THE CIRCUIT COURT OF THE
                                                                       1 1TH JUDICIAL CIRCUIT IN AND FOR
                                                                       MIAMI-DADE COUNTY, FLORIDA

                                                                       CASE:

         LEONARD HOCHSTEIN,
         DANIEL VINCENT LIBURDI and
         SINAN TUNA,


                   Plaintiffs,

         v.



         CITY OF MIAMI BEACH,
         a municipal corporation,


                   Defendant.

                                                        /

                                                            COMPLAINT


                   Plaintiffs, LEONARD HOCHSTEIN (“Hochstein”), DANIEL VINCENT LIBURDI

         (“Vincent”), and SINAN TUNA (“Sinan”) (collectively referred to as “Plaintiffs”), by and through


         undersigned counsel, hereby sue Defendant, CITY OF MIAMI BEACH (“Defendant”), and in


         support thereof states as follows:


                                                            OVERVIEW


                   1.      This is an action for declaratory and injunctive relief related to Defendant’s illegal


        passing of a city resolution that violates Plaintiffs due process and property rights.1

                                                             PARTIES


                 2.       Plaintiff, Leonard Hochstein is an individual owning and residing on Star or

        Hibiscus Island in Miami Beach, Florida.




        1 Plaintiffs have attempted to obtain the special use permit discussed herein, even though time does not allow
        same, if the permit is not obtained and if the emergency injunction is not granted, they will amend to seek
        damages.
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            3.     Plaintiff, Daniel Vincent Liburdi, is an individual owning and residing on Star or


    Hibiscus Island in Miami Beach, Florida.


           4.      Plaintiff, Sinan Tuna, is an individual owning and residing on Star or Hibiscus

    Island in Miami Beach, Florida.


           5.      Defendant, City of Miami Beach (the “City”), is a municipal corporation located in


    Miami-Dade County, Florida.


                                             JURISDICTION


           6.      This Court has personal jurisdiction over the Defendant because it is based and


   conducts business in Miami-Dade County, Florida.


           7.      This is an action for damages over $50,000.00, and subject matter jurisdiction


   properly rests with this Court.


                                      COMMON ALLEGATIONS


           8.      The week of December 2-8, 2024, is “Miami Art Basel Week.” As has been done


   in the past few years, Plaintiffs intend to stage a private party at each of their respective homes for


   their invited guests, in compliance with all existing ordinances.


           9.     While displaying a lack of compliance with the City Code, at Sections 2-1, 2-14,

   and 2-17, the City passed a resolution (not an ordinance), making it impossible to stage these


   parties, causing Plaintiffs to lose substantial property and rights without due process.


           10.    On November 20, 2024, the City of Miami Beach issued a Resolution 2024-3307,


   a copy of which is attached hereto as Exhibit “A” (the “Resolution”). The Resolution was passed


   without notice to the public as is required by Code Section 2-1 and 2-17. It was passed without


   compliance with Section 2-14, as same was not on the Commission Agenda on such date, and upon


   information and belief, the Resolution was not voted upon.




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               11.    The Resolution purports to stop the Plaintiffs from putting on their intended private

    parties.


               12.    Pursuant to Florida Statute § 252.38, a city’s use of emergency powers “must be


    narrowly tailored to serve a compelling public health or safety purpose and must be limited . . .in


    scope in order to reduce any infringement on individual rights or liberties to the greatest extent


    possible.”


               13.    Consequently, the Resolution is not “narrowly tailored to serve a compelling public


    health or safety purpose and must be limited ...in scope in order to reduce any infringement on


    individual rights or liberties to the greatest extent possible.”


               14.    The passage of the Resolution adversely affects the Plaintiffs’                          rights, the

   deprivation of which without notice and an opportunity to be heard, violates their fundamental


   rights to privacy and due process under the First Amendment, is a violation of Sections 2-1, 2-14

   and 2-17 of the City Code and a violation of the City of Miami Beach’s “Citizen’s Bill of Rights,”


   Section A -5, A-6 and A-8.


               15.    Plaintiffs have exhausted all administrative remedies to no avail2 and all other

   conditions precedent to this action have been performed, waived, or have occurred.


                                          COUNT I - DECLARATORY RELIEF


            Plaintiff repeats and hereby reincorporates by reference into this count the allegations


   above in paragraphs 1-15 as if fully set forth herein, and further alleges:


            16.      This is a count for declaratory relief pursuant to Florida Statute Chapter 86 et seq.


            17.      The antagonistic and adverse interests are all before the Court by proper process

   and the relief sought is not for legal advice by the Court, nor to answer questions propounded from




   2 Plaintiffs’ effort to obtain a special use permit is proceeding; however, the City has made it clear in the
   Commission Meeting when the Resolution passed, that they intend to shut down Plaintiffs' private parties.

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    curiosity.


            18.    Defendant believes that the Resolution is valid and enforceable.

            19.    Plaintiffs believe that the Resolution is void and unenforceable for the reasons

    stated herein and in the Emergency Motion for Injunctive Relief.


           20.     A bona fide dispute exists between the parties as to whether or not the Resolution


    is enforceable as an ordinance.


           21.     Plaintiffs have a justiciable question as to the propriety and enforceability of the

    Resolution for the reason set forth in the Emergency Motion for Injunctive Relief filed


    concurrently herewith.


           22.     A bona fide, actual, present need to determine the propriety and enforceability of


   the Resolution exist.


           23.    Plaintiffs request this Court to declare that (1) the Resolution is void as a matter of

   law and (2) unenforceable against Plaintiffs.


           WHEREFORE, for the reasons set forth herein, Plaintiffs, Leonard Hochstein, Daniel


   Vincent, and Sinan Tuna, request this Court to enter an Order that (1) the Resolution is void as a


   matter of law and (2) unenforceable against Plaintiffs, enjoin the City of Miami Beach from


   enforcing the Resolution against Plaintiffs, and for such further relief as this Court may deem just


   and proper.




                                                                Respectfully submitted,
                                                                WOLFE LAW MIAMI, P.A.
                                                                 Counsel for Plaintiffs
                                                                 175 SW 7th Street, Suite 2410
                                                                Miami, FL 33130
                                                                Phone: 305.384.7370
                                                                Fax:     305.384.7371




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                                                       By:
                                                        RICHARD C. WOLFE
                                                        Florida Bar No.: 355607
                                                        rwolfe@wolfelawmiami.com




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                     EXHIBIT A




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                            RESOLUTION NO.        2024-33407
              A RESOLUTION OF THE MAYOR AND CITY COMMISKO^F             CITY^
              MIAMI BEACH. FLORIDA, AUTHORIZING AN^D^C^^^
              ADMINISTRATION TO AMEND THE CITY^S SPECU^E^WML^^




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               IH Miami Beach

                     Code of Ordinances

                       B SubPart A. CHARTER




                    CITIZENS' BILL OF RIGHTS

         Latest version.


         (A)    This government has been created to protect the governed, not the governing. In order

                to provide the public with full and accurate information, to promote efficient

                administrative management, to make government more accountable, and to insure to

               all persons fair and equitable treatment, the following rights are guaranteed:

                1.    Convenient access. Every person has the right to transact business with the City

                     with a minimum of personal inconvenience. It shall be the duty of the City Manager

                     and the City Commission to provide, within the City's budget limitations,

                     reasonably convenient times and places for required inspections, and for

                     transacting business with the City.

               2.    Truth in government. No municipal official or employee shall knowingly furnish

                     false information on any public matter, nor knowingly omit significant facts when

                     giving requested information to members of the public.

               3.    Public records. All audits, reports, minutes, documents and other public records of

                     the City and its boards, agencies, departments and authorities shall be open for

                     inspection at reasonable time and places convenient to the public.

               4.    Minutes and ordinance register. The City Clerk shall maintain and make available

                     for public inspection an ordinance register separate from the minutes showing the

                     votes of each member on all ordinances and resolutions listed by descriptive title.

                     Written minutes of all meetings and the ordinance register shall be available for

                     public inspection not later than thirty (30) days after the conclusion of the meeting.

               5.    Right to be heard. So far as the orderly conduct of public business permits, any

                     interested person has the right to appear before the City Commission or any City

                     agency, board or department for the presentation, adjustment or determination of

                     an issue, request or controversy within the jurisdiction of the City. Matters shall be

                     scheduled for the convenience of the public, and the agenda shall be divided into

                     approximate time periods so that the public may know approximately when a

                     matter will be heard. Nothing herein shall prohibit the City or any agency thereof

                     from imposing reasonable time limits for the presentation of a matter.
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            6.    Right to notice. Persons entitled to notice of a City hearing shall be timely informed

                  as to the time, place and nature of the hearing and the legal authority pursuant to

                  which the hearing is to be held. Failure by an individual to receive such notice shall

                  not constitute mandatory grounds for canceling the hearing or rendering invalid

                  any determination made at such hearing. Copies of proposed ordinances or

                  resolutions shall be made available at a reasonable time prior to the hearing,

                  unless the matter involves an emergency ordinance or resolution.

            7.    No unreasonable postponements. No matter once having been placed on a formal

                  agenda by the City shall be postponed to another day except for good cause

                  shown in the opinion of the City Commission, or agency conducting such meeting,

                  and then only on condition that any person so requesting is mailed adequate

                  notice of the new date of any postponed meeting. Failure by an individual to

                  receive such notice shall not constitute mandatory grounds for canceling the

                  hearing or rendering invalid any determination made at such hearing.

            8.    Right to public hearing. Upon a timely request of any interested party a public

                 hearing shall be held by any City agency, board, department or authority upon any

                 significant policy decision to be issued by it which is not subject to subsequent

                 administrative or legislative review and hearing. This provision shall not apply to

                 the law department of the City nor to any body whose duties and responsibilities

                 are solely advisory.


       At any zoning or other hearing in which review is exclusively by certiorari, a party or his

       counsel shall be entitled to present his case or defense by oral or documentary evidence, to

       submit rebuttal evidence, and to conduct such cross-examination as may be required for a full

       and true disclosure of the facts. The decision of any such agency, board, department or

       authority must be based upon the facts in the record. Procedural rules establishing

       reasonable time and other limitations may be promulgated and amended from time to time.


           9.    Notice of action and reasons. Prompt notice shall be given of the denial in whole or

                 in part of a request of an interested person made in connection with any municipal

                 administrative decision or proceeding when the decision is reserved at the

                 conclusion of the hearing. The notice shall be accompanied by a statement of the

                 grounds for denial.

           10.    Managers' and attorneys' reports. The City Manager and City Attorney shall

                  periodically make a public status report on all major matters pending or concluded

                 within their respective jurisdictions.

           11.   Budgeting. In addition to any budget required by state statute, the City Manager

                 shall prepare a budget showing the cost of each department for each budget year.

                 Prior to the City Commission's first public hearing on the proposed budget required

                 by state law, the City Manager shall make public a budget summary setting forth

                 the proposed cost of each individual department and reflecting the personnel for
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                    each department, the purposes therefor, the estimated millage cost of each

                    department and the amount of any contingency and carryover funds for each

                   department.

           12.      Quarterly budget comparisons. The City Manager shall make public a quarterly

                    report showing the actual expenditures during the quarter just ended against one

                   quarter of the proposed annual expenditures set forth in the budget. Such report

                   shall also reflect the same cumulative information for whatever portion of the fiscal

                   year that has elapsed.

           1 3.     Adequate audits. An annual audit of the City shall be made by an independent

                    certified public accounting firm in accordance with generally accepted auditing

                   standards. The independent City Auditor shall be appointed by the City

                   Commission; both appointment and removal of the independent City Auditor shall

                   be made by the City Commission. A summary of the results of the independent

                   City Auditor’s annual audit, including any deficiencies found, shall be made public.

                   In making such audit, proprietary functions shall be audited separately and

                   adequate depreciation on proprietary facilities shall be accrued so the public may

                   determine the amount of any direct or indirect subsidy. Duties, method of selection,

                   and method of compensation of the independent City Auditor shall be established

                   by ordinance.

          14.       Representation of public. The City Commission shall endeavor to provide

                   representation at ail proceedings significantly affecting the City and its residents

                  before state and federal regulatory bodies.

          15.      Natural resources and scenic beauty. It shall be the policy of the City of Miami

                   Beach to conserve and protect its natural resources and scenic beauty, which

                  policy shall include the abatement of air and water pollution and of excessive and

                  unnecessary noise.

          16.      Nondiscrimination. No person shall be deprived of any rights and privileges

                   conferred by law because of race, color, national origin, religion, gender, sexual

                  orientation, disability, marital status, familial status, or age.

          17.      Nondiscrimination in City Employment and Benefits. The City of Miami Beach

                   shall not discriminate in employment practices and benefits offered based upon

                  an employee or applicant’s race, color, national origin, religion, gender, sexual

                  orientation, gender identity, disability, marital status, familial status, or age.

          18.      Ethics in Government. The public's confidence and trust in City of Miami Beach

                   operations and government must meet the most demanding ethical standards and

                  demonstrate the highest level of achievement in its adherence to ethics laws. City

                  of Miami Beach officials and employees are agents of the people and hold their

                  positions for the benefit of the public—as public servants, they are to observe in

                  their official acts a high standard of conduct and to discharge faithfully the duties of

                  their office regardless of personal considerations and interests, recognizing that
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                     promoting the public interest and maintaining the respect of the people in their

                     government must be of foremost concern. In upholding the values of accountability

                     and responsibility, all city officials and employees shall abide by applicable codes

                     of ethical conduct, and be subject to all penalties provided for in such regulations.

              19.     Improvement of Public Educational Facilities available to Miami Beach Citizenry. It

                      shall be the policy of the City of Miami Beach to cooperate with the Miami-Dade

                     County public schools, and with other appropriate governmental agencies, which

                     will strive to improve the quality and quantity of public educational facilities

                     available to the citizenry of the City of Miami Beach, Florida.

              20.     City Assistance to Condominium and Co-op Owners. The City of Miami Beach

                      hereby acknowledges the purpose and duties of the City's Administration as

                     assisting condominium and co-op owners to navigate through the City's permitting

                     process; to facilitate the resolution of other condominium-related issues with other

                     outside agencies; and to act as a liaison between condominium or co-op owners,

                     management firms and the City.

       (B)    The foregoing enumeration of citizens' rights vests large and pervasive powers in the

              citizenry of the City of Miami Beach. Such power necessarily carries with it

             responsibility of equal magnitude for the successful operation of government in the

             City. The orderly, efficient and fair operation of government requires the intelligent

             participation of individual citizens exercising their rights with dignity and restraint so as

             to avoid any sweeping acceleration in the cost of government because of the exercise

             of individual prerogatives, and for individual citizens to grant respect for the dignity of

             public office.

       (C)    Remedies for violations. In any suit by a citizen alleging a violation of this Bill of Rights

              filed in the Dade County circuit Court pursuant to its general equity jurisdiction, the

             plaintiff, if successful, shall be entitled to recover costs as fixed by the court. Any public

             official or employee who is found by the court to have willfully violated this article shall

             forthwith forfeit his office or employment.

       (D)    Construction. All provisions of this article shall be construed to be supplementary to

             and not in conflict with the general laws of Florida. If any part of this article shall be

             declared invalid, it shall not affect the validity of the remaining provisions.


      (Res. No. 2003-25288, 7-30-03; Res. No. 2003-25391, 7-30-03; Res. No. 2003-25443, 12-10-
      03; Res. No. 2009-27152, 7-22-09; Res. No. 2013-28299, 7-19-13; Res. No. 2013-28302, 7-
       19-13; Res. No. 2013-28303, 7-19-13)


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